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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS,
                            EASTERN DIVISION

JUSTIN TAYLOR, on behalf                      )
of himself and all others similarly situated, )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )
REGIONAL ACCEPTANCE                           )
CORPORATION                                   )
                                              )
               Defendant.                     )      JURY DEMAND

                           COMPLAINT – CLASS ACTION

       1.      Plaintiff brings this action for damages, and other legal and equitable

remedies, resulting from the illegal actions of Regional Acceptance Corporation

(hereinafter referred to as “Defendant”) in negligently, knowingly, and/or willfully

contacting Plaintiff on Plaintiff’s cellular telephone without his prior express consent

within the meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

(hereinafter referred to as the “TCPA”) and for invasion of privacy and defamation. The

TCPA prohibits automated telephone calls to cellular telephones without prior express

consent.

                                      JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 28 U.S.C. §1331 (general federal

question), §1337, and 47 U.S.C. §227 (TCPA). Venue in this District is proper because

defendant transacts business here and the harm to plaintiff occurred here.
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                                              PARTIES

        3.      Plaintiff Justin Taylor is, and at all times mentioned herein was, an

individual citizen of the State of Illinois, who resides in the district.

        4.      Defendant is a North Carolina corporation that maintains a registered

agent in the state of Illinois of CT Corporation System, 208 S. LaSalle St, Suite 814,

Chicago, IL 60604. Defendant provides automotive financing to individual consumers in

at least 25 states, including Illinois.

                       THE TELEPHONE CONSUMER PROTECTION
                           ACT OF 1991 (TCPA), 47 U.S.C. § 227

        5.      In 1991, Congress enacted the Telephone Consumer Protection Act, 47

U.S.C. § 227 (TCPA), in response to a growing number of consumer complaints

regarding certain telemarketing practices.

        6.      The TCPA regulates, among other things, the use of automated telephone

equipment, or “auto-dialers.” Specifically, the plain language of section 227(b)(1)(A)(iii)

prohibits the use of auto-dialers to make any call to a wireless number in the absence of

an emergency or the prior express consent of the called party.

        7.      According to findings by the Federal Communication Commission

(“FCC”), the agency Congress vested with authority to issue regulations implementing

the TCPA, such calls are prohibited because, as Congress found, automated or

prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized

that wireless customers are charged for incoming calls whether they pay in advance or

after the minutes are used.
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       8.      On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded message calls to a wireless number by a

creditor (or on behalf of a creditor) are permitted only if the calls are made with the

“prior express consent” of the called party. The FCC “emphasize[d] that prior express

consent is deemed to be granted only if the wireless number was provided by the

consumer to the creditor, and that such number was provided during the transaction that

resulted in the debt owed.”

                                         FACTS

       9.      At all times relevant, plaintiff was an individual residing in the State of

Illinois. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(10).

       10.     Plaintiff incurred an obligation to pay money, the primary purpose of

which was for personal, family, or household uses (the “Debt”).

       11.     Defendant uses instruments of interstate commerce for its principal

purpose of business, which is the servicing of consumer automotive loans.

       12.     At all times relevant, Defendant owned the Debt or was retained to service

the Debt.

       13.     “During the transaction that resulted in the debt owed,” plaintiff did not

provide his wireless number to Defendant nor otherwise provide express consent to

receive prerecorded calls by Defendant on Plaintiff’s cellular telephone.

       14.     Defendant is, and at all times mentioned herein was, a corporation and a

“person”, as defined by 47 U.S.C. § 153(10).
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       15.     Defendant contacted Plaintiff on Plaintiff’s cellular telephone. Plaintiff

received numerous calls on his cellular phone in or around January and February 2012.

       16.     All telephone contact by Defendant to Plaintiff on his cellular telephone

occurred via an “automatic telephone dialing system,” as defined by 47 U.S.C. §

227(a)(1), and all calls that are the subject of this complaint occurred within four years of

the filing of this complaint.

       17.     The telephone number that Defendant used to contact plaintiff, with an

“automatic telephone dialing system,” was assigned to a cellular telephone service as

specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       18.     The complained of telephone calls constituted calls not for emergency

purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       19.     Plaintiff did not provide “express consent” allowing Defendant to place

telephone calls to Plaintiff’s cellular phone utilizing an “automatic telephone dialing

system,” within the meaning of 47 U.S.C. § 227(b)(1)(A).

       20.     Defendant did not make telephone calls to Plaintiff’s cellular phone “for

emergency purposes” placed by an “automatic telephone dialing system,” as described in

47 U.S.C. § 227(b)(1)(A).

       21.     Defendant’s telephone calls to Plaintiff’s cellular phone were placed by an

“automatic telephone dialing system” for non-emergency purposes and in the absence of

plaintiff’s prior express consent violated 47 U.S.C. § 227(b)(1)(A).

       22.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory

Ruling, the burden is on Defendant to demonstrate that Plaintiff provided express consent
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within the meaning of the statute, because it is the best entity to determine how numbers

were attained.

        23.      On or around January 25, 2012, Defendant telephoned Plaintiff’s mother

at a phone number which belongs to Plaintiff’s parents.

        24.      During this communication Defendant disclosed details about Plaintiff’s

account to Plaintiff’s mother, including notifying Plaintiff’s mother that Plaintiff faced

repossession because of his delinquent account.

        25.      On or around January 26, 2012, Defendant telephoned Plaintiff’s father at

a phone number which belongs to Plaintiff’s parents.

        26.      During this communication Defendant disclosed details about Plaintiff’s

account to Plaintiff’s father.

        27.      Plaintiff suffered embarrassment and humiliation as a result of

Defendant’s disclosure of private facts.

                        COUNT I - TCPA (CELLULAR CALLS)

        28.      Plaintiff incorporates the above factual allegations herein.

        29.      Defendant made automated telephone calls to the wireless telephone

numbers of Plaintiff and the other members of the class using equipment that, upon

information and belief, had the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator.

        30.      These phone calls were made without the prior express consent of Plaintiff

or the class.

        31.      Defendant has therefore violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii),

which makes it unlawful for any person within the United States . . . to make any call
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(other than a call made for emergency purposes or made with the prior express consent of

the called party) using any automatic telephone dialing system or an artificial or

prerecorded voice . . .” As a result of defendant’s illegal conduct, the members of the

class suffered actual damages and, under section 227(b)(3)(B), are each entitled to, inter

alia, a minimum of $500.00 in damages for each such violation of the TCPA.

       32.     Because Defendant’s misconduct was willful and knowing, the Court

should pursuant to section 227(b)(3)(C), treble the amount of statutory damages

recoverable by the plaintiff and the class.

       33.     Plaintiff and class members are also entitled to and do seek injunctive

relief prohibiting Defendant’s violation of the TCPA in the future.

                               CLASS ALLEGATIONS

       34.     Plaintiff proposes the following class definition, subject to amendment as

appropriate:

                (1) All persons within the United States or its Territories (2) to
       whose cellular telephone number (3) Defendant placed a non-emergency
       telephone call (4) using an automatic telephone dialing system or an
       artificial or prerecorded voice (5) between a date of four years prior to and
       twenty days after the filing of this complaint. Excluded from this class are
       any such persons who provided that cellular telephone number to
       Defendant or the original creditor during the transaction that resulted in
       the debt.

       35.     Plaintiff does not know the exact number of members in the Class, but

based upon Defendant’s size, national scope, as well as that it was using a dialing system,

plaintiff reasonably believes that class members number at minimum in the thousands.

       36.     Plaintiff and all members of the class have been harmed by the acts of

Defendant.
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       37.     The joinder of all class members is impracticable due to the size and

relatively modest value of each individual claim. The disposition of the claims in a class

action will provide substantial benefit the parties and the Court in avoiding a multiplicity

of identical suits. The class can be identified easily through records maintained by

defendant.

       38.     There are questions of law and fact common to the members of the

classes, which common questions predominate over any questions that affect only

individual class members. Those common questions of law and fact include, but are not

limited to, the following:

               a. Whether Defendant made nonemergency calls to plaintiff and class

       members’ cellular telephones using an automatic telephone dialing system or an

       artificial or prerecorded voice;

               b. Whether Defendant can meet its burden of showing it obtained prior

       express consent (i.e., consent that is clearly and unmistakably stated), during the

       transaction that resulted in the debt owed, to make such calls;

               c. Whether Defendant’s conduct was knowing and/or willful;

               d. Whether Defendant is liable for damages, and the amount of such

       damages; and

               e. Whether Defendant should be enjoined from engaging in such conduct

       in the future.

       39.     As a person who received numerous and repeated telephone calls using an

automatic telephone dialing system or an artificial or prerecorded voice, without his prior

express consent within the meaning of the TCPA, plaintiff asserts claims that are typical
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of each class member. Plaintiff will fairly and adequately represent and protect the

interests of the class, and she has no interests which are antagonistic to any member of

the class.

        40.    Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer protection statutes such as the TCPA.

        41.    A class action is the superior method for the fair and efficient adjudication

of this controversy. Class wide relief is essential to compel defendant to comply with the

TCPA. The interest of class members in individually controlling the prosecution of

separate claims against Defendant is small because the statutory damages in an individual

action for violation of the TCPA are small. Management of these claims is likely to

present significantly fewer difficulties than are presented in many class claims because

the calls at issue are all automated and the class members, by definition, did not provide

the prior express consent required under the statute to authorize calls to their cellular

telephones.

        42.    Defendant has acted on grounds generally applicable to the class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the

class as a whole appropriate. Moreover, on information and belief, plaintiff alleges that

the TCPA violations complained of herein are substantially likely to continue in the

future if an injunction is not entered.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

plaintiff and the class members and against defendant for:
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        a.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),

        Plaintiff seeks for himself and each Class member $500.00 in statutory damages

        for each and every call that violated the TCPA;

        b.      As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.

        §227(b)(1), Plaintiff seeks for himself and each Class member treble damages, as

        provided by statute, of up to $1,500.00 for each and every call that violated the

        TCPA;

        c.      Injunctive relief prohibiting such violations of the TCPA by Defendant in

        the future;

        d.      An order certifying this action as a class action pursuant to Federal Rule of

        Civil Procedure 23, establishing an appropriate Class and any Subclasses the

        Court deems appropriate, finding that Plaintiff is a proper representative of the

        Class, and appointing the lawyers and law firm representing Plaintiff as counsel

        for the Class;

        e.      Such other relief as the Court deems just and proper.

                                COUNT II – INVASION OF PRIVACY

        43.     Plaintiff incorporates the above factual allegations herein.

        44.     This claim is brought by Plaintiff individually against Defendant.

        45.     Defendant, acting on its own behalf and through its agents, violated

Plaintiff’s right to seclusion by:

        1.      Discussing Plaintiff’s alleged delinquency and/or pending repossession

        with numerous third parties, including his parents.
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       2.      Making numerous calls to Plaintiff and third parties after being requested

       to refrain from making such calls.

       46.     By these actions, defendant intentionally intruded upon plaintiffs’ right to

seclusion and to not be portrayed in a false light.

       47.     These actions would be highly offensive to a reasonable person.

       WHEREFORE, the Court should enter judgment in favor of plaintiffs against

defendants for:

       (1) Actual damages;

       (2) Punitive damages;

       (3) Costs of suit;

       (4) Such other and further relief as the Court deems proper.

                                               Respectfully submitted,

                                               /s/ Keith J. Keogh
                                               One of Plaintiff’s attorneys
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                                     JURY DEMAND

Plaintiff demands trial by jury.

                                               /s/ Keith J. Keogh
